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         EXHIBIT A
(EXHIBIT FILED UNDER SEAL)
                                                                                Case 4:20-cv-05640-YGR                                                                                                 Document 1195-2 Filed 02/12/25                                                                                                                Page 2 of 2
                                                                                                                                                                                                       Privilege Log Entries
Production Bates of    Doc      Production    Production    Custodians        Document     Document   From              To                               Cc                                                Bcc   Subject               OriginalName                       Redact or PrivilegeType     PrivilegeDescription                         Additional Privilege Context      Attorneys, Legal Staff, and Employees Acting at the          Special Master
Parent Document        Number   Bates         Bates End                       Date         Time                                                                                                                                                                           Withhold                                                                                                   Direction of counsel                                         Determination
(Folder Title)                  Beginning                                                                                                                                                                                                                                                                                                                                                                                                         (Priv - Yes Priv -
Communications Concerning Apple’s Public Reaction to Allegations of Malicious Compliance (Entry Nos. 194-195 from Apple’s Third Production)
PRIV-APL-EG_00066447   194      PRIV-APL-     PRIV-APL-     Ajemian, Peter    2024-02-01   17:32:20   Fred Sainz                                         Fred Sainz                                    ;         Re: New Background 20240201-0932 Re: New                 Withhold   AttorneyClient   Email reflecting legal advice from           Email providing legal advice in   Freshfields (outside counsel);                 (outside Yes
                                EG_00066447   EG_00066448                                                                                                Peter Ajemian                                           Talking Points re  Background Talking Points re                                      counsel regarding foreign regulatory         furtherance of drafting public    counsel); Kyle Andeer (Apple in-house counsel); Brendan
                                                                                                                        Isaac Rubin                      Kyle Andeer                          Sean               Compliance Efforts Compliance Efforts.eml                                            issues press and communications legal        communications re foreign         McNamara (Apple in-house counsel); Tom McNamara (Apple
                                                                                                                                                         Cameron                               ;                                                                                                      strategy.                                    regulatory issues                 in-house counsel)
                                                                                                                                                         Brendan McNamara

                                                                                                                                                         SCHUBERT Sascha (SNS)

                                                                                                                                                         JONES-DUFFEY Janet

PRIV-APL-EG_00066447   195      PRIV-APL-     PRIV-APL-     Ajemian, Peter    2024-02-01   17:22:00                                                                                                                                    2024-02-01 DRAFT Spirit and        Withhold   AttorneyClient   Draft document reflecting legal advice    Draft document from counsel      Freshfields (outside counsel);                 (outside Yes
                                EG_00066449   EG_00066450                                                                                                                                                                              Malicious TPs--Privileged.docx                                 from counsel regarding foreign regulatory providing legal advice regarding counsel); Kyle Andeer (Apple in-house counsel); Brendan
                                                                                                                                                                                                                                                                                                      issues press and communications legal public communications re foreign McNamara (Apple in-house counsel); Tom McNamara (Apple
                                                                                                                                                                                                                                                                                                      strategy.                                 regulatory issues                in-house counsel)
Pre-Announcement Communications or Press-Related Documents (Entry Nos 38 88 91 123 and 124 from Apple’s Third Production)
PRIV-APL-EG_00064772   38       PRIV-APL-     PRIV-APL-     Ajemian, Peter;   2023-07-03   06:26:41                                                                                                                                    Wisconsin Comm Drafts-9.pdf        Withhold   AttorneyClient   Draft document with redacted text            Draft storekit link entitlement   Jennifer Brown (Apple in-house counsel); Sean Cameron        Yes
                                EG_00064782   EG_00064790   Goldberg, Marni                                                                                                                                                                                                                           reflecting legal advice from counsel         addendum containing counsel       (Apple in-house counsel); Jason Cody (Apple in-house
                                                                                                                                                                                                                                                                                                      regarding injunction compliance press        revisions.                        counsel); Ling Lew (Apple in-house counsel)
PRIV-APL-EG_00065371   88       PRIV-APL-     PRIV-APL-     Ajemian, Peter    2022-06-30   16:47:35   Peter Ajemian     Tim Cook                         Kristin Huguet Quayle                                   Yonhap News           20220630-0947 Yonhap News          Withhold   AttorneyClient   Email chain reflecting information for the Document contains discussions       Kate Adams (Apple in-house counsel); Kyle Andeer (Apple in- Yes
                                EG_00065371   EG_00065378                                                                                  ; Phil                             Fred Sainz                         Agency - Apple to     Agency - Apple to allow external                               purpose of rendering legal advice from     of legal information.               house counsel);Sean Cameron (Apple in-house counsel);
                                                                                                                        Schiller                                            Adam Dema                            allow external app    app payment opt.eml                                            counsel regarding injunction compliance                                        Jason Cody (Apple in-house counsel); Sean Dillon (Apple in-
                                                                                                                                                                                    Hannah Smith                 payment options in                                                                   press and communications legal                                                 house counsel); Ling Lew (Apple in-house counsel)
                                                                                                                        Gregory Joswiak                                                 ; Simon Kim              S. Korea in                                                                          strategy.
                                                                                                                                           Eddy                                    Gloria Choi                   compliance with local
                                                                                                                        Cue                                                   Susan Prescott                     law
                                                                                                                        Luca Maestri                                          ; Kyle Andeer
                                                                                                                                                                              Sean Cameron
                                                                                                                        Craig Federighi                                                Sean Dillon
                                                                                                                                                                            Ling Lew
                                                                                                                        Kate Adams                                            Jason Cody
                                                                                                                                                                                  ; Mike Tam
                                                                                                                        Lisa Jackson                                        Ann Thai
                                                                                                                                                                             Matt Fischer
                                                                                                                                                                                    Bob Borchers
                                                                                                                                                                               Trystan Kosmynka
                                                                                                                                                                                    Nick Ammann
                                                                                                                                                                               ; Tim Powderly
                                                                                                                                                                                 Josh Shaffer
                                                                                                                                                                             Andreas Wendker
PRIV-APL-EG_00065390   91       PRIV-APL-     PRIV-APL-     Ajemian, Peter    2024-01-02   17:48:02   Adam Dema         Archelle Thelemaque                                                                      Fwd: Checking in:     Fwd: Checking in: Wisconsin.eml    Withhold   AttorneyClient   Email chain reflecting information for the   Email reflects information needed Curtis Box (Apple in-house counsel); Jennier Brown (Apple in- Yes
                                EG_00065397   EG_00065408                                                                                                                                                        Wisconsin                                                                            purpose of obtaining legal advice from       for the purposes of obtaining     house counsel)
                                                                                                                                                                                                                                                                                                      counsel regarding injunction compliance      legal advice.
                                                                                                                                                                                                                                                                                                      analysis of commission rate.
PRIV-APL-EG_00065667   123      PRIV-APL-     PRIV-APL-     Ajemian, Peter    2023-07-03   13:09:24   Marni Goldberg    Adam Dema                        Peter Ajemian                                           Adam/Hannah -- can 20230703-0609 Adam-Hannah --          Withhold   AttorneyClient   Email chain reflecting information for the   Document contains discussions     Email chain containing information to be provided to legal   No
                                EG_00065667   EG_00065672                                                                                                                                                        you review these?  can you review these?.eml                                         purpose of rendering legal advice from       of legal advice.                  counsel in order to obtain legal advice.
                                                                                                                        Hannah Smith                                                                                                                                                                  employees acting under the direction of
                                                                                                                                                                                                                                                                                                      counsel regarding developer outreach
                                                                                                                                                                                                                                                                                                      related to U.S. Link Entitlement.
PRIV-APL-EG_00065667   124      PRIV-APL-     PRIV-APL-     Ajemian, Peter    2023-07-03   12:03:22                                                                                                                                    070223 Project Wisconsin Reactive Withhold    AttorneyClient   Document reflecting information for the      Document contains requests for    Document containing information to be provided to legal      Yes
                                EG_00065673   EG_00065679                                                                                                                                                                              QA pages                                                       purpose of obtaining legal advice from       legal advice.                     counsel in order to obtain legal advice.
                                                                                                                                                                                                                                                                                                      counsel regarding injunction compliance
                                                                                                                                                                                                                                                                                                      analysis of commission rate.
Other Communications with a Primary Business Purpose (Entry Nos 523 from Apple’s Third Production; Entry Nos 2167 2168 and 2169 from Apple’s Second Production)
PRIV-APL-EG_00069945   523      PRIV-APL-     PRIV-APL-     Cote, Bri;       2024-01-10    23:47:47   Bri Cote          Mike Tam                                                                                 [URGENT COPY     20240110-1547 [URGENT COPY              Withhold   AttorneyClient   Email chain reflecting legal advice from                                       Jennifer Brown (Apple in-house counsel); Ling Lew (Apple in- Yes
                                EG_00069945   EG_00069948   Guebert, Jeff;                                                                  ; Ling                                                               FEEDBACK         FEEDBACK                                                            counsel regarding injunction compliance                                        house counsel);
                                                            Magnani,                                                    Lew                                                                                      NEEDED]??Wiscons NEEDED]??Wisconsin Exec                                             requirements for user design and
                                                            Joseph; Gromek,                                                                      ;                                                               in Exec Feedback Feedback.eml                                                        interface.
                                                            Monika; Liu,                                                Jennifer Brown
                                                            Terry; Phillips,
                                                            Joe; Moore, Ken;                                                 Liz Pulchny
                                                            Pulchny, Liz;
                                                            Tam, Mike; Thai,                                            Joseph Magnani
                                                            Ann
                                                                                                                        Terry Liu
                                                                                                                        Ann Thai
                                                                                                                                             ;
                                                                                                                        Monika Gromek
                                                                                                                                             ; Joe
                                                                                                                        Phillips
                                                                                                                                                     ;
                                                                                                                        Jeff Guebert
                                                                                                                                                 ;
PRIV-APL-EG_00048697   2167     PRIV-APL-     PRIV-APL-     Tam, Mike         2024-03-08   19:22:13   Mike Tam          June Orlowski                    Jordan Hickey                       ; Ling              Re: JP2B -        20240308-1122 Re: JP2B -        Withhold          AttorneyClient   Email chain reflecting legal advice from     various emails reflecting legal   Ling Lew (Apple in-house counsel)                            YES
                                EG_00048697   EG_00048708                                                                                                Lew                         Charles Soon                Guidelines Update Guidelines Update Language (N&A                                    counsel regarding developer outreach         advice directed at content of
                                                                                                                        Cathyia Xie                                                                              Language (N&A and and P2B emails).eml                                                related to U.S. link entitlement             developer communications and
                       2168     PRIV-APL-     PRIV-APL-     Tam, Mike         2024-03-05   19:46:22   Apple Developer                                                                                            Updated App Review Updated App Review Guidelines         Withhold   AttorneyClient   Document reflecting legal advice from        per parent email, draft document Ling Lew (Apple in-house counsel)                             YES
                                EG_00048709   EG_00048710                                                                                                                                                        Guidelines now     now available.eml                                                 counsel regarding developer outreach         reflecting legal advice on content
                                                                                                                                                                                                                 available                                                                            related to U.S. link entitlement             of developer communications and
                                                                                                                                                                                                                                                                                                                                                   disclosures for app review
                                                                                                                                                                                                                                                                                                                                                   guidelines
                       2169     PRIV-APL-     PRIV-APL-     Tam, Mike                                                                                                                                                                  utf-                         Withhold         AttorneyClient   Document reflecting legal advice from        per parent email, draft document Ling Lew (Apple in-house counsel)                             YES
                                EG_00048711   EG_00048711                                                                                                                                                                              8''Screenshot%202024%2D01%2D                                   counsel regarding developer outreach         reflecting legal advice on content
                                                                                                                                                                                                                                       17%20at%2011.13.56%E2%80%A                                     related to U.S. link entitlement             of developer communications and
                                                                                                                                                                                                                                       FAM.png                                                                                                     disclosures for app review
                                                                                                                                                                                                                                                                                                                                                   guidelines
Meeting Notes (Entry Nos 492 493 from Apple’s Third Production; Entry Nos 2205 2206 and 2207 from Apple’s Second Production)
PRIV-APL-EG_00069555   492      PRIV-APL-     PRIV-APL-     Cook, Tim; Cue, 2023-02-22     02:27:40   Tim Cook          Kyle Andeer                      Kate Adams                                ;             Re: DMA               20230221-1827 Re: DMA              Withhold   AttorneyClient   Email reflecting legal advice from           Email forwarding email from       Kyle Andeer (Apple in-house counsel); Kate Adams (Apple in- Yes
                                EG_00069555   EG_00069558   Eddy; Schiller,                                                                              Craig Federighi                                         Engagement: iOS       Engagement: iOS - 1.eml                                        counsel regarding foreign regulatory         counsel providing legal advice re house counsel); Brendan McNamara (Apple in-house
                                                            Phil; Federighi,                                                                             Eddy Cue                     ; Greg Joswiak                                                                                                  issues in the European Union, including      DMA commission and strategy       counsel);
                                                            Craig; Joswiak,                                                                                                Phil Schiller                                                                                                              DMA.                                         for engaging with same
                                                            Greg                                                                                                                Lisa Jackson
                                                                                                                                                                                     Kristin Huguet
                                                                                                                                                         Quayle                           Andreas
                                                                                                                                                         Wendker                           ; Eric
                                                                                                                                                         Albert                         Fred Sainz
                                                                                                                                                                             Nick Ammann
                                                                                                                                                                                 ; Martin
                                                                                                                                                         Gudmundsson
                                                                                                                                                                                        Brendan
                                                                                                                                                         McNamara
                                                                                                                                                                                             Matt
PRIV-APL-EG_00069555   493      PRIV-APL-     PRIV-APL-     Cook, Tim; Cue, 2023-02-22     02:00:08                                                                                                                                    DMA meeting.pages                  Withhold   AttorneyClient   Draft document reflecting legal advice    Summary from counsel providing Kyle Andeer (Apple in-house counsel); Kate Adams (Apple in- Yes
                                EG_00069559   EG_00069568   Eddy; Schiller,                                                                                                                                                                                                                           from counsel regarding foreign regulatory legal advice re DMA commission house counsel); Brendan McNamara (Apple in-house
                                                            Phil; Federighi,                                                                                                                                                                                                                          issues in the European Union, including and strategy for engaging with   counsel);
                                                            Craig; Joswiak,                                                                                                                                                                                                                           DMA.                                      same
                                                            Greg
PRIV-APL-EG_00049292   2205     PRIV-APL-     PRIV-APL-     Kosmynka,        2024-01-16    18:21:30   Jordan Hickey     Mike Tam                         Sean Cameron                                            Re: Wisconsin         20240116-1021 Re: Wisconsin        Withhold   AttorneyClient   Email chain providing legal advice from                                        Sean Cameron (Apple in-house counsel)                        YES
                                EG_00049292   EG_00049300   Trystan; Tam,                                                                    Ling                                      Trystan                   changes [Notes]       changes [Notes].eml                                            counsel regarding developer outreach
                                                            Mike                                                        Lew                              Kosmynka                            ; Fred                                                                                                   related to U.S. link entitlement
                                                                                                                                                         Sainz                      Daniel
                                                                                                                                                         (WWDR) Kim                            ;
                       2206     PRIV-APL-     PRIV-APL-     Kosmynka,                                                                                                                                                                  utf-                         Withhold         AttorneyClient   Document providing information for the                                         Sean Cameron (Apple in-house counsel)                        YES
                                EG_00049301   EG_00049301   Trystan; Tam,                                                                                                                                                              8''Screenshot%202024%2D01%2D                                   purpose of obtaining legal advice from
                                                            Mike                                                                                                                                                                       16%20at%208.27.45%E2%80%AF                                     counsel regarding developer outreach
                                                                                                                                                                                                                                       AM.png                                                         related to U.S. link entitlement
                       2207     PRIV-APL-     PRIV-APL-     Kosmynka,                                                                                                                                                                  utf-                         Withhold         AttorneyClient   Document providing information for the                                         Sean Cameron (Apple in-house counsel)                        YES
                                EG_00049302   EG_00049302   Trystan; Tam,                                                                                                                                                              8''Screenshot%202024%2D01%2D                                   purpose of obtaining legal advice from
                                                            Mike                                                                                                                                                                       16%20at%2010.17.55%E2%80%A                                     counsel regarding developer outreach
                                                                                                                                                                                                                                       FAM.png                                                        related to U.S. link entitlement
